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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 20-847V
                                      Filed: August 26, 2022
                                          UNPUBLISHED


    KALEE CAMBRAY, on behalf of S.C.,

                         Petitioner,
    v.                                                        Joint Stipulation on Damages;
                                                              Haemophilus Influenzae Type B
    SECRETARY OF HEALTH AND                                   (HIB) Pedvax vaccines; Abscess;
    HUMAN SERVICES,                                           Granulomas

                        Respondent.


Jerome A. Konkel, Samster Konkel and Safran, Wauwatosa, WI, for petitioner.
Naseem Kourosh , U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION ON JOINT STIPULATION 1

        On July 13, 2020, Kalee Cambray, petitioner, on behalf of her minor daughter
S.C., filed a petition for compensation under the National Vaccine Injury Compensation
Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that
S.C. suffered injuries including abscesses and granulomas caused-in-fact by her
Haemophilus Influenzae Type B (HIB) Pedvax vaccines on July 14, 2017, September
13, 2017, and May 8, 2018. Petition at 1; Stipulation, filed August 26, 2022, at ¶ 4. On
March 15, 2021, respondent filed a Rule 4(c) report “conceding that petitioner is entitled
to compensation for S.C.’s injuries, namely an induration or abscess on S.C.’s left thigh,
two indurations or abscesses on S.C.’s right thigh, and a scar on S.C.’s right thigh.”
Stipulation at ¶ 4. On March 15, 2021, I issued a Ruling on Entitlement, finding
petitioner entitled to compensation. (ECF No. 24.)

       On August 26, 2022, the parties filed the attached joint stipulation, stating that a
decision should be entered awarding compensation. I find the stipulation reasonable

1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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and adopt it as the decision of the Court in awarding damages, on the terms set forth
therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $40,000.00 in the form of a check payable to petitioner.
        Stipulation at ¶ 6. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment in accordance with this decision. 3


IT IS SO ORDERED.

                                          s/Daniel T. Horner
                                          Daniel T. Horner
                                          Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
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